                                   Case 3:18-bk-30821       Doc 161       Filed 02/18/20      Entered 02/18/20 11:27:01             Desc
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        18-30821 BAB                                                         Trustee: (550470)           Paul H. Spaeth
Case Name:          INSTITUTE OF MANAGEMENT AND RESOURC                                  Filed (f) or Converted (c): 11/19/19 (c)
                                                                                         §341(a) Meeting Date:       12/18/19
Period Ending:      02/18/20                                                             Claims Bar Date:            01/28/20

                               1                                      2                         3                          4                   5                     6

                       Asset Description                          Petition/             Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled        (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                   Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

 1       184 Salem Ave, Dayton, OH 45406 Sheriff Appraise         885,000.00                     203,070.68               OA                        0.00                    FA
           Imported from original petition Doc# 19

 2       1205 -1206 Shuler Ave, Hamilton, OH 45011 Parcel         519,410.00                     113,578.81                                         0.00                    FA
           Imported from original petition Doc# 19

 3       2010 Ford F250 Pickup (Snow Truck) Mileage: 54,2             12,588.00                     2,500.00                                        0.00              2,500.00
           Imported from original petition Doc# 19

 4       Lease of 2015 Maserati Ghibli Co-Lessee Michelle                   0.00                        0.00                                        0.00                    FA
           Imported from original petition Doc# 19

 5       Lease of 2016 Jaguar XJL Guarantor Jeanette Harr                   0.00                        0.00                                        0.00                    FA
           Imported from original petition Doc# 19

 6       Lease of 2016 Mercedes GL450 Guarantor Jeanette                    0.00                        0.00                                        0.00                    FA
           Imported from original petition Doc# 19

 7       Lease of 2016 Mercedes C300 Guarantor Aleta Bens                   0.00                        0.00                                        0.00                    FA
           Imported from original petition Doc# 19

 8       Business Checking Account at PNC Bank Operating                  317.95                      317.95                                        0.00                    FA
          Imported from original petition Doc# 19

 9       Business Checking Account at PNC Bank Payroll Ac                   0.00                        0.00                                        0.00                    FA
          Imported from original petition Doc# 19

10       Unpaid proceeds from title company, approximatel              3,500.00                     3,500.00                                        0.00              3,500.00
          Imported from original petition Doc# 19


                                                                                                                                           Printed: 02/18/2020 11:23 AM   V.14.65
                                    Case 3:18-bk-30821            Doc 161         Filed 02/18/20       Entered 02/18/20 11:27:01            Desc
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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
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                       Asset Description                                   Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                     Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                            Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                            and Other Costs)                                                  Remaining Assets

11       A/R 90 days old or less. Face amount = $33,000.0                    33,000.00                       33,000.00                                      0.00             33,000.00
           Imported from original petition Doc# 19

12       A/R 90 days old or less. Face amount = $0.00. Do                     Unknown                        Unknown                                        0.00                    FA
           Imported from original petition Doc# 19

13       A/R Over 90 days old. Face amount = $55,000.00.                     55,000.00                       55,000.00                                      0.00             55,000.00
           Imported from original petition Doc# 19

14       A/R Over 90 days old. Face amount = $0.00. Doubt                     Unknown                        Unknown                                        0.00                    FA
           Imported from original petition Doc# 19

15       School desks, chairs, cafeteria tables, bookcase                    12,000.00                       12,000.00                                      0.00                    FA
          Imported from original petition Doc# 19

16       Located at 184 Salem Ave, Dayton, OH 45406, 1205                    15,000.00                       15,000.00                                      0.00                    FA
           Imported from original petition Doc# 19

16       Assets          Totals (Excluding unknown values)               $1,535,815.95                   $437,967.44                                       $0.00           $94,000.00


     Major Activities Affecting Case Closing:
              02/18/20-Trustee is reviewing documentation to determine if assets are available for liquidation.




                                                                                                                                                   Printed: 02/18/2020 11:23 AM   V.14.65
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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
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                              1                                        2                       3                          4                   5                     6

                      Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

    Initial Projected Date Of Final Report (TFR): December 31, 2020                 Current Projected Date Of Final Report (TFR): December 31, 2020




                February 18, 2020                                                   /s/ Paul H. Spaeth
         __________________________                                                 _________________________________________________________________
                      Date                                                          Paul H. Spaeth




                                                                                                                                          Printed: 02/18/2020 11:23 AM   V.14.65
